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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                 )
                                          )
                             Plaintiff,   )
                                          )
       vs.                                )       Case No. 1:21-cr-00160-002 (TJK)
                                          )
LOUIS ENRIQUE COLON,                      )       UNOPPOSED MOTION TO
                                          )       MODIFY CONDITIONS OF
                             Defendant.   )       PRETRIAL RELEASE


       COMES NOW the defendant, Louis Enrique Colon, by and through undersigned

counsel, pursuant to 18 U.S.C. § 3142 and Rule 12 of the Federal Rules of Criminal

Procedure, and hereby respectfully requests this honorable court to enter an order modifying

his pretrial release conditions. In support of this motion the defendant states the following

suggestions in support:

                             SUGGESTIONS IN SUPPORT

       1.      The defendant is on pretrial release and under the supervision of the U.S.

Probation and Pretrial Office for the Western District of Missouri.

       2.      Mr. Colon was placed on home detention as an additional condition of release.

(See Doc. No. 43 at p. 2 ¶ (p)(ii).

       3.      The defendant respectfully requests the Court modify the conditions of his

pretrial release by omitting the home detention requirement and adding the following

condition:




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       (p)
              (iv) Stand Alone Monitoring. You have no residential curfew, home
       detention, or home incarceration restrictions. However, you must comply with the
       location or travel restrictions as imposed by the court.
                      Note: Stand Alone Monitoring should be used in conjunction with
       global positioning system (GPS) technology.

       4.      Neither John Copes, Pretrial Services Officer in the District Court Unit, nor

Senior Probation Officer Dan Schroeder in the Western District of Missouri has an objection

to this request. Undersigned counsel has contacted Assistant United States Attorney

Christopher Berridge, and he has no objection as to this request, based upon Pretrial

Services’ national policy.

       5.      The defendant agrees to a ruling on this motion without the requirement of a

hearing unless otherwise ordered by this court.

       WHEREFORE, defendant Colon respectfully requests that the Court modify the

conditions of his release as set out herein and for such further and other relief as deemed

appropriate by the Court.

                                           Respectfully submitted,

                                           WYRSCH HOBBS & MIRAKIAN, P.C.

                                           By:    / s/ James R. Hobbs
                                               JAMES R. HOBBS DC Bar ID MO0022
                                               1200 Main Street
                                               Suite 2110
                                               Kansas City, Missouri 64105
                                               Tel: (816) 221-0080
                                               Fax: (816) 221-3280
                                               jrhobbs@whmlaw.net
                                              ATTORNEYS FOR DEFENDANT




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                             CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 23rd day of June, 2021, the foregoing was
electronically filed with the Clerk of the Court using the CM/ECF system which sent
notification of such filing to all counsel of record.


                                           /s/ James R. Hobbs
                                          Attorney for Defendant




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